Case 21-03020-sgj Doc 109-11 Filed 09/10/21   Entered 09/10/21 20:50:57   Page 1 of 2




                        EXHIBIT 10




                                                                          UBSPO041
       Case 21-03020-sgj Doc 109-11 Filed 09/10/21              Entered 09/10/21 20:50:57         Page 2 of 2




From:                             Catanese, Katie <KCatanese@foley.com>
Sent:                             Wednesday, September 1, 2021 9:17 AM
To:                               Burt, Jason (DC); Martin.Sosland@butlersnow.com
Subject:                          RE: Motion for Protective Order


Jason,
We respectfully disagree with your position that the protective order in place covers what we are seeking in our motion
for protective order. Rather, consistent with our last email exchange with you, we are seeking a reasonable amount of
time so that we can review the 61,000 documents rather than requiring Beecher to produce these documents beginning
tomorrow on a rolling basis.
Katie

Katherine R. Catanese
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New York, NY 10016
O: 212-338-3496
C: 517-449-7587




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